         Case 21-03076-sgj Doc 197 Filed 08/11/22             Entered 08/11/22 08:47:24          Page 1 of 1
BTXN 154 (rev. 11/03)
                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS


In Re:                                                    §
Highland Capital Management, L.P.                         §
                                                          §    Case No.: 19−34054−sgj11
                                        Debtor(s)         §    Chapter No.: 11
Marc Kirschner et al.                                     §
                                        Plaintiff(s)      §    Adversary No.:    21−03076−sgj
     vs.                                                  §
James D. Dondero et al.                                   §
                                        Defendant(s)      §


                                    CLERK'S ENTRY OF DEFAULT
     The Clerk for the United States Bankruptcy Court for the Northern District of Texas, having reviewed the
adversary docket in the above−styled and numbered matter, and having received the Affidavit of counsel for the
Plaintiff in this cause, and having found that no answer, motion, pleading, response, or appearance has been entered
by or on behalf of Defendant Massand Capital, LLC and Massand Capital, Inc. (collectively, the "Massand
Defendants"), hereby notes and dockets a Clerk's Entry of Default in the above−captioned adversary proceeding.



DATED: 8/11/22                        FOR THE COURT:
                                      Robert P. Colwell, Clerk of Court

                                      by: /s/Michael Edmond, Deputy Clerk
